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                                                                                               FILED
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                        IN THE UNITED STATES DISTRICT COURT                                            ?019
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION
                                                                                                 Cl.FRK
                                                                                         U.S. DISTRICT COURT
UNITED STATES OF AMERICA                                                                 MIDDLE DIST. %ALA.

               v.                                     CR. NO.2:18-CR-00358-WKW-SMD
                                                             [21 U.S.C. § 841(a)(1);
RICHARD A. STEHL                                              18 U.S.C. § 1347;
                                                              18 U.S.C. § 1956;
                                                              18 U.S.C. § 2]

                                                      SUPERSEDING INDICTMENT

The Grand Jury charges:
                                       I. BACKGROUND

        1.     At all times material to this Superseding Indictment, the Alabama Board of

Medical Examiners and Medical Licensure Commission of Alabama(ABME)was a state agency

charged with protecting the health and safety of the citizens of Alabama by, among other things,

licensing and regulating physicians to practice medicine or osteopathy within Alabama.

       2.      At all times material to this Superseding Indictment, the Drug Enforcement

Administration(DEA)was a law enforcement and regulatory agency of the United States

Department ofJustice. Among the DEA's objectives were preventing and detecting the unlawful

diversion or misuse of controlled substances authorized for medical usages. Such controlled

substances were those drugs listed in Schedule II, Schedule III, Schedule IV, and Schedule V of

schedules promulgated pursuant to the Controlled Substances Act. In furtherance of its mission,

the DEA issued registrations to physicians, nurse practitioners, physicians' assistants and other

types of health care providers authorizing those health care providers to issue prescriptions for

controlled substances when legitimate medical needs supported the issuance of prescriptions and

the issuance of a prescription for a controlled substance was within a practitioner's normal

medical practice.
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        3.     At all times material to this Superseding Indictment, for a physician licensed by

the ABME to lawfully prescribe a controlled substance within Alabama, that practitioner had to

obtain both a controlled substances registration from the DEA and also an Alabama Controlled

Substances Certificate(ACSC)from the ABME.

       4.      At all times material to this Superseding Indictment, it was outside the usual

course of professional medical practice for a health care provider to issue a controlled substance

in a manner that violates a generally applicable ABME rule or a limitation imposed by the

ABME on the specific health care provider's ability to prescribe controlled substances.

       5.      At all times material to this Superseding Indictment, the following entities

 provided health insurance to individuals and were "health care benefit program[s]" as defined

 in Title 18, United States Code, Section 24(b): BCBSAL and Medicare.

                                     II. INTRODUCTION

       6.      From an unknown date and continuing until in or about August of 2018,

Defendant Richard A. Stehl was a physician licensed to practice medicine in Alabama by the

ABME. During some or all of that period, Stehl was licensed by the DEA and the ABME to

issue prescriptions for controlled substances.

       7.      On or about October 23, 2009, Defendant Stehl filed with the Alabama Secretary

of State articles ofincorporation for a business entity, HealthCare on Demand,P.C.(Healthcare

on Demand). HealthCare on Demand was the business entity through which Stehl worked as a

general practice physician. Stehl was the sole owner and incorporator of HealthCare on

Demand. Stehl was also the only physician practicing through HealthCare on Demand.

HealthCare on Demand employed medical assistants, clerical workers, and other individuals to

support Stehl's medical practice.



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        8.     From the time of its incorporation until in or about 2010, Defendant Stehl

operated HealthCare on Demand in rented office space located at 4135 Atlanta Highway,

Montgomery, Alabama 36109.

       9.      In or about June of 2012, Defendant Stehl entered into a physician monitoring

contract with the ABME. Under that contract, Stehl agreed to the following term:

       Refrain from diagnosing and treating Attention Deficit/Hyperactivity Disorder and
       refer these patients for such treatment to a qualified psychologist/psychiatrist team
       for proper diagnosis and treatment, however, those current patients who have
       chronic, co-morbid conditions (i.e., diabetes, GERD, hypothyroidism, etc) with
       whom Dr. Stehl has already been treating for ADHD (based on a
       psychiatric/psychological evaluation contained in the patient's chart) can continue
       to receive their stimulant medication prescriptions from Dr. Stehl, as long as this
       focal population of patients meets with a psychiatrist once a year for a follow-up
       evaluation.

Subsequently, the ABME received the physician monitoring contract; as a result, its terms

governed Stehl's practice of medicine for five years from the date Stehl signed the agreement.

                            III. DRUG DISTRIBUTION COUNTS

                                           COUNT 1
                            (Distribution of a Controlled Substance)

       10.     The factual allegations contained in paragraphs 1 through 9 of this Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

       11.     On or about May 14, 2012 and continuing until on or about August 2, 2018, in

Montgomery County, within the Middle District of Alabama and elsewhere, the defendant,

                                     RICHARD A. STEHL,

did knowingly and intentionally distribute and dispense and cause to be distributed and

dispensed mixtures and substances containing detectable amounts of controlled substances, to

wit: phentermine, a Schedule IV controlled substance and tramadol, a Schedule IV controlled

substance, all to Amanda B., all outside the usual course of professional medical practice and for


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no legitimate medical purpose. All in violation of Title 21, United States Code, Section

841(a)(1) and Title 18, United States Code, Section 2.

                                           COUNT 2
                            (Distribution of a Controlled Substance)

        12.    The factual allegations contained in paragraphs 1 through 11 of this Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

        13.    On or about January 12, 2016 and continuing until on or about August 2, 2018, in

Montgomery County, within the Middle District of Alabama and elsewhere, the defendant,

                                     RICHARD A. STEHL,

did knowingly and intentionally distribute and dispense and cause to be distributed and

dispensed mixtures and substances containing detectable amounts of controlled substances, to

wit: buprenorphine, a Schedule III controlled substance; alprazolam, a Schedule IV controlled

substance; phentermine, a Schedule IV controlled substance; tramadol, a Schedule IV controlled

substance; and zolpidem, a Schedule IV controlled substance, all to Debra B., all outside the

usual course of professional medical practice and for no legitimate medical purpose. All in

violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States Code,

Section 2.

                                           COUNT 3
                            (Distribution of a Controlled Substance)

       14.     The factual allegations contained in paragraphs 1 through 13 of this Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

       15.     On or about August 11, 2010 and continuing until on or about August 2, 2018, in

Montgomery County, within the Middle District of Alabama and elsewhere, the defendant,

                                     RICHARD A. STEHL,



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did knowingly and intentionally distribute and dispense and cause to be distributed and

dispensed mixtures and substances containing detectable amounts of controlled substances, to

wit: hydrocodone, a Schedule II controlled substance; butalbital, a Schedule III controlled

substance; codeine with acetaminophen, a Schedule III controlled substance; carisoprodol, a

Schedule IV controlled substance; clonazepam, a Schedule IV controlled substance; diazepam, a

Schedule IV controlled substance; tramadol, a Schedule IV controlled substance; and zolpidem, a

Schedule IV controlled substance, all to Ann L., all outside the usual course of professional

medical practice and for no legitimate medical purpose. All in violation of Title 21, United

States Code, Section 841(a)(1) and Title 18, United States Code, Section 2.

                                           COUNT 4
                            (Distribution of a Controlled Substance)

       16.     The factual allegations contained in paragraphs 1 through 15 ofthis Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

       17.     On or about November 4, 2010 and continuing until on or about August 6, 2018,

in Montgomery County, within the Middle District of Alabama and elsewhere, the defendant,

                                     RICHARD A. STEHL,

did knowingly and intentionally distribute and dispense and cause to be distributed and

dispensed mixtures and substances containing detectable amounts of controlled substances, to

wit: dextroamphetamine-amphetamine, a Schedule II controlled substance; butalbital, a Schedule

III controlled substance; codeine with acetaminophen, a Schedule III controlled substance;

alprazolam, a Schedule IV controlled substance; carisoprodol, a Schedule IV controlled

substance; lorazepam, a Schedule IV controlled substance; tramadol, a Schedule IV controlled

substance; zolpidem, a Schedule IV controlled substance; and pregabalin, a Schedule V

controlled substance, all to James M., all outside the usual course of professional medical


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practice and for no legitimate medical purpose. All in violation of Title 21, United States Code,

Section 841(a)(1) and Title 18, United States Code, Section 2.

                                           COUNT 5
                            (Distribution of a Controlled Substance)

        18.    The factual allegations contained in paragraphs 1 through 17 of this Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

       19.     On or about July 2, 2015 and continuing until on or about July 30, 2018, in

Montgomery County, within the Middle District of Alabama and elsewhere, the defendant,

                                     RICHARD A. STEHL,

did knowingly and intentionally distribute and dispense and cause to be distributed and

dispensed mixtures and substances containing detectable amounts of controlled substances, to

wit: hydrocodone, a Schedule II controlled substance; butalbital, a Schedule III controlled

substance; codeine with acetaminophen, a Schedule III controlled substance; alprazolam, a

Schedule IV controlled substance; eszopiclone, a Schedule IV controlled substance; lorazepam, a

Schedule IV controlled substance; phentermine, a Schedule IV controlled substance; tramadol, a

Schedule IV controlled substance; and zolpidem, a Schedule IV controlled substance, all to

Tammy M., all outside the usual course of professional medical practice and for no legitimate

medical purpose. All in violation of Title 21, United States Code, Section 841(a)(1).

                                           COUNT 6
                            (Distribution of a Controlled Substance)

       20.     The factual allegations contained in paragraphs 1 through 19 ofthis Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

       21.     On or about June 26, 2015 and continuing until on or about August 7, 2018, in

Montgomery County, within the Middle District of Alabama and elsewhere, the defendant,



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                                     RICHARD A. STEHL,

did knowingly and intentionally distribute and dispense and cause to be distributed and

dispensed mixtures and substances containing detectable amounts of controlled substances, to

wit: buprenorphine, a Schedule III controlled substance; alprazolam, a Schedule IV controlled

substance; and lorazepam, a Schedule IV controlled substance, all to Paige O., all outside the

usual course of professional medical practice and for no legitimate medical purpose. All in

violation of Title 21, United States Code, Section 841(a)(1).

                                           COUNT 7
                            (Distribution of a Controlled Substance)

       22.     The factual allegations contained in paragraphs 1 through 21 of this Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

       23.     On or about December 3, 2012 and continuing until on or about August 1, 2018,

in Montgomery County, within the Middle District of Alabama and elsewhere, the defendant,

                                     RICHARD A. STEHL,

did knowingly and intentionally distribute and dispense and cause to be distributed and

dispensed mixtures and substances containing detectable amounts of controlled substances, to

wit: dextroamphetamine-amphetamine, a Schedule II controlled substance; hydrocodone, a

Schedule II controlled substance; carisoprodol, a Schedule IV controlled substance; clonazepam,

a Schedule IV controlled substance; lorazepam, a Schedule IV controlled substance; temazepam,

a Schedule IV controlled substance; and pregabalin, a Schedule V controlled substance, all to

William P., all outside the usual course of professional medical practice and for no legitimate

medical purpose. All in violation of Title 21, United States Code, Section 841(a)(1).




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                                            COUNT 8
                             (Distribution of a Controlled Substance)

       24.     The factual allegations contained in paragraphs 1 through 23 of this Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

       25.     On or about April 19, 2011 and continuing until on or about July 19, 2018, in

Montgomery County, within the Middle District of Alabama and elsewhere, the defendant,

                                     RICHARD A. STEHL,

did knowingly and intentionally distribute and dispense and cause to be distributed and

dispensed mixtures and substances containing detectable amounts of controlled substances, to

wit: dextroamphetamine-amphetamine, a Schedule II controlled substance; lisdexamfetamine, a

Schedule II controlled substance; butalbital, a Schedule III controlled substance; alprazolam, a

Schedule IV controlled substance; and carisoprodol, a Schedule IV controlled substance, all to

Misty R., all outside the usual course of professional medical practice and for no legitimate

medical purpose. All in violation of Title 21, United States Code, Section 841(a)(1).

                                           COUNT 9
                            (Distribution of a Controlled Substance)

       26.     The factual allegations contained in paragraphs 1 through 25 of this Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

       27.     On or about August 7, 2014 and continuing until on or about May 21, 2018, in

Montgomery County, within the Middle District of Alabama and elsewhere, the defendant,

                                     RICHARD A. STEHL,

did knowingly and intentionally distribute and dispense and cause to be distributed and

dispensed mixtures and substances containing detectable amounts of controlled substances, to

wit: hydrocodone, a Schedule II controlled substance; dextroamphetamine-amphetamine, a



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Schedule II controlled substance; alprazolam, a Schedule IV controlled substance; diazepam, a

Schedule IV controlled substance; phentermine, a Schedule IV controlled substance; suvorexant,

a Schedule IV controlled substance; and zolpidem, a Schedule IV controlled substance, all to

Grace S., all outside the usual course of professional medical practice and for no legitimate

medical purpose. All in violation of Title 21, United States Code, Section 841(a)(1).

                                           COUNT 10
                            (Distribution of a Controlled Substance)

       28.     The factual allegations contained in paragraphs 1 through 27 of this Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

       29.     On or about July 12, 2010 and continuing until on or about August 2, 2018, in

Montgomery County, within the Middle District of Alabama and elsewhere, the defendant,

                                     RICHARD A. STEHL,

did knowingly and intentionally distribute and dispense and cause to be distributed and

dispensed mixtures and substances containing detectable amounts of controlled substances, to

wit: hydrocodone, a Schedule II controlled substance; alprazolam, a Schedule IV controlled

substance; carisoprodol, a Schedule IV controlled substance; clonazepam, a Schedule IV

controlled substance; lorazepam, a Schedule IV controlled substance; phentermine, a Schedule

IV controlled substance; temazepam, a Schedule IV controlled substance; and pregabalin, a

Schedule V controlled substance, all to Rashilda W., all outside the usual course of professional

medical practice and for no legitimate medical purpose. All in violation of Title 21, United

States Code, Section 841(a)(1).

                                           COUNT 11
                            (Distribution of a Controlled Substance)

       30.     The factual allegations contained in paragraphs 1 through 29 of this Superseding



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Indictment are realleged and incorporated herein as if copied verbatim.

        31.    In or about June of2012 and continuing through in or about June of2017 in

Montgomery County, within the Middle District of Alabama and elsewhere, the defendant,

                                      RICHARD A. STEHL,

did knowingly and intentionally distribute and dispense and cause to be distributed and

dispensed mixtures and substances containing detectable amounts of controlled substances, to

wit: dextroamphetamine-amphetamine, a Schedule II controlled substance; and

lisdexamfetamine, a Schedule II controlled substance, to patients of HealthCare on Demand

(excluding patients James M., William P., Misty R., and Grace S.), all outside the usual course of

professional medical practice in that when he wrote each prescription, Stehl violated the portion

ofthe June 2012 prescription monitoring agreement quoted in paragraph 9 of this Superseding

Indictment. All in violation of Title 21, United States Code, Section 841.

                           IV. HEALTH CARE FRAUD COUNTS

                                   COUNTS 12 THROUGH 17
                                     (Health Care Fraud)

       32.     The factual allegations contained in paragraphs 1 through 31 ofthis Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

                                         THE SCHEME

       33.     Beginning on an unknown date and continuing until on or about August 7,2018,

in Montgomery County, within the Middle District of Alabama, and elsewhere, the defendant,

                                      RICHARD A. STEHL,

did knowingly and willfully, with intent to defraud, devised and intended to devise, a scheme and

artifice to defraud, and to obtain, by means of materially false and fraudulent pretenses,

representations, and promises, money and property owned and under the custody and control of


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health care benefit programs, as defined in Title 18, United States Code, Section 24(b), in

connection with the delivery of and payment for health care benefits, items, and services. The

scheme and artifice is set forth below.

                                     MANNER AND MEANS

        It was part of the scheme that:

        34.    Defendant Stehl issued to patients of HealthCare on Demand, including, but not

limited to, the patients described in paragraphs 10 through 29, vague diagnoses unsupported by

diagnostic evidence.

       35.     Based upon these vague and unsupported diagnoses, Defendant Stehl gave and

caused to be given prescriptions for controlled substances to these patients, including but not

limited to, medications containing dextroamphetamine-amphetamine, hydrocodone,

lisdexamfetamine, buprenorphine, alprazolam, carisoprodol, clonazepam, diazepam, temazepam,

zolpidem, and pregabalin. Stehl did so despite knowing that each prescription was outside the

ordinary course of normal professional conduct and for no legitimate medical purpose.

       36.     Defendant Stehl usually prescribed controlled substances in 30-day quantities.

Stehl required each patient to return to the offices of HealthCare on Demand each month for an

office visit. At the conclusion of an office visit, Stehl issued or caused to be issued to the patient

a new 30-day controlled substance prescription.

       37.     These monthly office visits were medically unnecessary. As no legitimate

medical reasons existed for the patients' receipt of controlled substances, no legitimate medical

reasons existed for the patients undergoing monthly medical office visits.

       38.     After performing these unnecessary office visits, Defendant Stehl submitted and

caused to be submitted to the health care benefit programs providing health insurance for the



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patients claims for the office visits.

        39.       In most instances, Defendant Stehl used on each claim current procedural

terminology(CPT)code 99214. By doing so, Stehl indicated to the recipient health care benefit

program that the office visit was "an office visit or other outpatient visit for the evaluation and

management of an established patient, which require[d] at least two of[the following] key

components: a detailed history, a detailed examination and medical decision making of moderate

complexity." Frequently, Stehl submitted claims for office visits using the 99214 code even

though the office visits did not meet the above-quoted requirements. Stehl did so because, as he

knew,the health care benefit programs reimbursed at higher rates for 99214 office visits than

they did for office visits meeting the criteria for a less complex office visit CPT code (such as

99213, 99212, or 99211 office visits).

       40.        The health care benefit programs then reimbursed HealthCare on Demand for the

claims submitted by Defendant Stehl. In most instances, Stehl received between $65 and $95 for

each claim.

       41.        In submitting these claims and causing these claims to be submitted, Defendant

Stehl warranted that the office visits were for legitimate medical purposes. As Stehl then knew,

this was false.

       42.        Additionally, in submitting these claims and causing these claims to be submitted,

Defendant Stehl omitted the material fact that the office visits were for the singular purpose of

perpetuating the illegitimate prescribing of controlled substances.

       43.        Additionally, in submitting these claims and causing these claims to be submitted,

Defendant Stehl, on many occasions, falsely certified that the visits described in the claims met

the requirements for the 99214 CPT code.



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                                        THE CHARGES

       44.     During each date range set forth below, in Montgomery County, within the

Middle District of Alabama, and elsewhere, the defendant,

                                     RICHARD A. STEHL,

for the purpose of executing the above-described scheme and artifice to defraud and for obtaining

money and property by means of materially false and fraudulent pretenses, representations, and

promises, money and property owned and under the custody and control of health care benefit

programs, as defined in Title 18, United States Code, Section 24(b), in connection with the

delivery of and payment for health care benefits, items, and services, did render medically

illegitimate and unnecessary treatment to the following patients, with the treatment of each

patient giving rise to a separate count against the named defendant.

  COUNT PATIENT                    ON OR ABOUT DATE                    HEALTH CARE
        TREATED                    RANGE                               BENEFIT PROGRAM
                                                                       DEFRAUDED


  12         Ann L.                August 8, 2010 through July 18,     Medicare
                                   2018




  13         James M.              November 4, 2010 through July       Medicare
                                   18, 2018


  14         Tammy M.              July 2, 2015 through July 18,       BCBSAL
                                   2018


  15         Misty R.              April 19, 2011 through July 19,     BCBSAL
                                   2018




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  16          Grace S.              August 7, 2014 through May 21,      BCBSAL
                                    2018


  17          Rashilda W.           November 1, 2013 through July 6, Medicare
                                    2018




 Each in violation of Title 18, United States Code, Section 1347 and Title 18, United States

 Code, Section 2.

                                   COUNTS 18 THROUGH 22
                                     (Health Care Fraud)

        45.     The factual allegations contained in paragraphs 1 through 44 of this Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

                                          THE SCHEME

        46.     Beginning on an unknown date and continuing until on or about August 7,2018,

in Montgomery County, within the Middle District of Alabama, and elsewhere, the defendant,

                                      RICHARD A. STEHL,

did knowingly and willfully, with intent to defraud, devised and intended to devise, a scheme and

artifice to defraud, and to deprive health care benefit programs, as defined in Title 18, United

States Code, Section 24(b), of money and property in their custody and control, in connection

with the delivery of and payment for health care benefits, items, and services. The scheme and

artifice is set forth below.

                                    MANNER AND MEANS

        It was part of the scheme that:

        47.     Defendant Stehl issued to patients of HealthCare on Demand,including, but not

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limited to, the patients described in paragraphs 10 through 29, vague diagnoses unsupported by

diagnostic evidence.

       48.      Based upon these vague and unsupported diagnoses, Defendant Stehl gave and

caused to be given prescriptions for controlled substances to these patients, including but not

limited to, medications containing dextroamphetamine-amphetamine, hydrocodone,

lisdexamfetamine, buprenorphine, alprazolam, carisoprodol, clonazepam, diazepam, temazepam,

zolpidem, and pregabalin. Stehl would do so despite knowing that each prescription was outside

the ordinary course of normal professional conduct and for no legitimate medical purpose. By

issuing the above-described prescriptions, Stehl would warrant that legitimate medical needs

existed for the dispensing of the prescribed medications. As Stehl then knew, no such medical

need existed.

       49.      The patients would then go to pharmacies for the purpose offilling prescriptions.

       50.      The health care benefit program of each patient would then pay the pharmacy for

some or all ofthe cost of the prescription—despite the fact that no legitimate medical need

existed for the prescribing of the medications.

                                         THE CHARGES

       51.      During each date range set forth below, in Montgomery County, within the

Middle District of Alabama, and elsewhere, the defendant,

                                     RICHARD A. STEHL,

for the purpose of executing the above-described scheme and artifice to defraud, and to deprive

health care benefit programs, as defined in Title 18, United States Code, Section 24(b), of money

and property in their custody and control, in connection with the delivery of and payment for

health care benefits, items, and services, did cause the following health care benefit programs to



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pay pharmacies for the costs offilling medically illegitimate prescriptions for the following

patients, with prescriptions for each patient giving rise to a separate count.

  COUNT PATIENT                     ON OR ABOUT DATE                     HEALTH CARE
        TREATED                     RANGE                                BENEFIT PROGRAM
                                                                         DEFRAUDED


  18         James M.               November 4, 2010 through July        Medicare
                                    21, 2018


  19         Tammy M.               July 2, 2015 through August 1,       BCBSAL
                                    2018


  20         Misty R.               April 19, 2011 through July 20,      BCBSAL
                                    2018



  21         Grace S.               August 7, 2014 through May 21,       BCBSAL
                                    2018


  22         Rashilda W.            November 1, 2013 through July        Medicare
                                    10, 2018




Each in violation of Title 18, United States Code, Section 1347 and Title 18, United States Code,

Section 2.

                             V. MONEY LAUNDERING COUNTS

                                  COUNTS 23 THROUGH 26
                               (Money Laundering — Concealment)

       52.     The factual allegations contained in paragraphs 1 through 51 ofthis Superseding

Indictment are realleged and incorporated herein as if copied verbatim.

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A.     Introduction

       53.     At all times relevant to this Superseding Indictment, HealthCare on Demand,the

business entity through which Defendant Stehl practiced medicine, received payments from

patients and from health care benefit programs for conducting office visits and providing other

health care procedures. Some of the payments from the patients and the health care benefit

programs constituted the proceeds of unlawful drug distribution, as the office visits and health

care procedures giving rise to the payments were performed for the sole purpose of distributing a

medically illegitimate prescription for a controlled substance. Some ofthe payments from the

health care benefit programs also constituted the proceeds of health care fraud, as the claims

resulting in the payments were for medically unnecessary office visits.

       54.     At all times material to this Superseding Indictment, upon receipt ofthese

payments, Defendant Stehl deposited the funds into a financial institution checking account

owned by HealthCare on Demand and controlled by Stehl located Wells Fargo & Company

(Wells Fargo). The account number ended in 1801.

       55.     On or about October 12, 2010, Defendant Stehl filed with the Alabama Secretary

of State a certificate offormation a business entity, for SLE Enterprises, LLC(SLE Enterprises).

From on or about October 12, 2010 through on or about January 4, 2012, Stehl was the sole

director, manager, and organizer of SLE Enterprises. The purpose of SLE Enterprises was to be

a shell corporation through which Stehl could disguise the nature, source, ownership, and control

of revenue Stehl generated by unlawfully prescribing and dispensing controlled substances and

by committing health care fraud.

       56.    In or about 2010, Defendant Stehl, through SLE Enterprises, purchased office

space located at 201 Winton M. Blount Loop, Montgomery, Alabama 36117. Stehl did so



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intending to relocate the offices of HealthCare on Demand to that location.

       57.     In or about 2010, Defendant Stehl opened a financial institution checking account

at Trustmark National Bank (Trustmark)for SLE Enterprises. The account number ended in

8153. At all times relevant to this Superseding Indictment, Stehl was the only owner of the 8153

Trustmark account and the only person authorized to access the funds in that account.

       58.     In or about 2011, Defendant Stehl moved HealthCare on Demand to the building

located at 201 Winton M. Blount Loop, Montgomery, Alabama 36117. From in or about 2011

through on or about August 7, 2018, Stehl operated HealthCare on Demand in the Winton M.

Blount Loop building. During that period, HealthCare on Demand made annual rent payments to

SLE Enterprises, the owner of 201 Winton M Blount Loop, Montgomery, Alabama 36117.

These annual rent payments were drawn from the 1801 Wells Fargo account and deposited into

the 8153 Trustmark account.

       59.     On or about January 4, 2012, Defendant Stehl transferred ownership of SLE

Enterprises from himself to Betty S. Betty S. was a relative of Stehl's. This transfer was a sham.

The purpose of the transfer was to further disguise the nature, source, ownership, and control of

the funds held by SLE Enterprises. After the transfer, Stehl retained full control of SLE

Enterprises and was entitled to the vast majority of the revenue generated by SLE Enterprises

revenue consisting primarily of rent payments made by HealthCare on Demand (Stehl's

business) to SLE Enterprises.

       60.     After on or about January 4, 2012 and continuing through on or about August 7,

2018, the annual rent payments made by HealthCare on Demand to SLE Enterprises continued to

be deposited into the 8153 Trustmark account. During that period, SLE Enterprises moved

money from the 8153 Trustmark account to, among other locations, an investment account



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owned by Stehl. SLE Enterprises also spent funds for the purpose of purchasing a personal

residence for Stehl.

B.      The Charges

        61.     On or about each date set forth below, in Montgomery County, within the Middle

District of Alabama, and elsewhere, the defendant,

                                      RICHARD A. STEHL,

aided and abetting another and aided and abetted by another, did knowingly and unlawfully

cause to be conducted and attempt to cause to be conducted financial transactions affecting

interstate commerce, which transactions involved the proceeds of specified unlawful activities,

namely, drug distribution, in violation of Title 21, United States Code, Section 841, and health

care fraud, in violation of Title 18, United States Code, Section 1347, with the intent to conceal

and disguise the nature, location, source, ownership and control ofthe proceeds of specified

unlawful activity, knowing that the property involved represented the proceeds of some form of

unlawful activity, by causing the following amounts to be transferred by check from a financial

institution account owned by HealthCare on Demand to the 8153 Trustmark account owned by

SLE Enterprises, on or about the dates set forth below, with each checking transaction giving rise

to a separate count.



 COUNT        ON OR ABOUT          DESCRIPTION
              DATE

 23           July 10, 2015        Check drawn on the HealthCare on Demand account signed
                                   by Stehl and payable to SLE Enterprises in the amount of
                                   $66,400.00; notated as "Rent May — Dec 2015"

 24           May 16, 2016         Check drawn on the HealthCare on Demand account signed
                                   by Stehl and payable to SLE Enterprises in the amount of
                                   $102,000.00; notated as "2016 Rent"


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 25          August 25,2017        Check drawn on the HealthCare on Demand account signed
                                   by Stehl and payable to SLE Enterprises in the amount of
                                   $102,000.00; notated as "Rent 2017"

 26          June 18, 2018         Check drawn on the HealthCare on Demand account signed
                                   by Stehl and payable to SLE Enterprises in the amount of
                                   $51,000.00; notated as "Rent 2018 Jan — June"



Each violation of Title 18, United States Code, Section 1956(a)(1)(B)(i) and Title 18, United

States Code, Section 2.

                                FORFEITURE ALLEGATION-1

       A.      The allegations contained in counts 1 through 11 of this superseding indictment are

hereby realleged and incorporated by reference for the purpose of alleging forfeitures pursuant to

Title 21, United States Code, Section 853.

       B.      Upon conviction of the offenses in violation of Title 21, United States Code,

Sections 841(a)(1) and 846, set forth in counts 1 through 11 of this superseding indictment, the

defendant,

                                     RICHARD A. STEHL,

shall forfeit to the United States, pursuant to Title 21, United States Code, Section 853, any and

all property constituting or derived from proceeds defendant obtained directly or indirectly as a

result of the violations and any and all property used or intended to be used in any manner or part

to commit and to facilitate the commission of the offenses in violation of Title 21, United States

Code, Section 841(a). The property includes, but is not limited to:

CURRENCY

$72,368.04 seized August 9, 2018, during the execution of a federal search warrant at Brisbane

Place in Montgomery, Alabama;




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$377,434.18 representing remaining funds as a result ofthe liquidation of Charles Schwab account

number xxxx-1414;

REAL PROPERTY

201 Winton M.Blount Loop, Montgomery, Alabama, more particularly described as follows:
Lot 1, in Block B, according to the Map of Mitylene Office Park Plat No. 1, as said Map appears
of record in the Office ofthe Judge ofProbate of Montgomery County, Alabama, in Plat Book 45,
at Page 139; and,

7248 Brisbane Place, Montgomery, Alabama, more particularly described as follows:
Lot 12, Block JJ of Wynlakes Phase II, Plat No. 10, as the Map thereof appears of record in the
Office ofthe Judge of Probate of Montgomery County, Alabama, in Plat Book 46, at Page 72.

        C.     If any of the property described in this forfeiture allegation, as a result of any act

or omission of the defendant:

               (1)     cannot be located upon the exercise of due diligence;

               (2)     has been transferred or sold to, or deposited with, a third party;

               (3)     has been placed beyond the jurisdiction of the court;

               (4)     has been substantially diminished in value; or

               (5)     has been commingled with other property which cannot be divided
                       without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to Title 21, United

States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

       All pursuant to Title 21, United States Code, Section 853.

                                 FORFEITURE ALLEGATION-2

       A.      The allegations contained in counts 12 through 22 of this superseding indictment

are hereby realleged and incorporated by reference for the purpose of alleging forfeitures pursuant

to Title 18, United States Code, Section 982(a)(7).

       B.      Upon conviction of the offenses in violation of Title 18, United States Code,

Section 1347 set forth in counts 12 through 22 of this superseding indictment, the defendant,

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                                      RICHARD A. STEHL,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(7), any

and all property constituting or derived from proceeds defendant obtained directly or indirectly as

a result of the offenses in violation of Title 18, United States Code, Section 1347. The property

includes, but is not limited to:

CURRENCY

$72,368.04 seized August 9, 2018, during the execution of a federal search warrant at Brisbane
Place in Montgomery, Alabama;

$377,434.18 representing remaining funds as a result ofthe liquidation of Charles Schwab account
number xxxx-1414;

REAL PROPERTY

201 Winton M.Blount Loop, Montgomery, Alabama, more particularly described as follows:
Lot 1, in Block B, according to the Map of Mitylene Office Park Plat No. 1, as said Map appears
ofrecord in the Office ofthe Judge of Probate of Montgomery County, Alabama,in Plat Book 45,
at Page 139; and,

7248 Brisbane Place, Montgomery, Alabama, more particularly described as follows:
Lot 12, Block JJ of Wynlakes Phase II, Plat No. 10, as the Map thereof appears of record in the
Office of the Judge of Probate of Montgomery County, Alabama, in Plat Book 46, at Page 72.

       C.      If any of the property described in this forfeiture allegation, as a result of any act

or omission ofthe defendant:

               (1)     cannot be located upon the exercise of due diligence;

               (2)     has been transferred or sold to, or deposited with, a third party;

               (3)     has been placed beyond the jurisdiction of the court;

               (4)     has been substantially diminished in value; or

              (5)      has been commingled with other property which cannot be divided
                       without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to Title 21, United

States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

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       All pursuant to Title 18, United States Code, Section 982(a)(7).

                                FORFEITURE ALLEGATION-3

       A.      The allegations contained in counts 23 through 26 of this superseding indictment

are hereby realleged and incorporated by reference for the purpose of alleging forfeitures pursuant

to Title 18, United States Code, Section 982(a)(1).

       B.      Upon conviction of the offenses in violation of Title 18, United States Code,

Section 1956(a)(1)(B)(i) set forth in counts 23 through 26 of this superseding indictment, the

defendant,

                                     RICHARD A. STEHL,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(1), any

and all property constituting or derived from proceeds defendant obtained directly or indirectly as

a result of the said violations and any and all property used or intended to be used in any manner

or part to commit and to facilitate the commission of the offenses in violation of Title 18, United

States Code, Section 1956(a)(1)(B)(i). The property includes, but is not limited to:

CURRENCY

$72,368.04 seized August 9, 2018, during the execution of a federal search warrant at Brisbane
Place in Montgomery, Alabama;

$377,434.18 representing remaining funds as a result ofthe liquidation of Charles Schwab account
number xxxx-1414;

REAL PROPERTY

201 Winton M.Blount Loop, Montgomery, Alabama, more particularly described as follows:
Lot 1, in Block B, according to the Map of Mitylene Office Park Plat No. 1, as said Map appears
ofrecord in the Office ofthe Judge of Probate of Montgomery County, Alabama,in Plat Book 45,
at Page 139; and,

7248 Brisbane Place, Montgomery, Alabama, more particularly described as follows:
Lot 12, Block JJ of Wynlakes Phase II, Plat No. 10, as the Map thereof appears of record in the
Office ofthe Judge of Probate of Montgomery County, Alabama,in Plat Book 46, at Page 72.



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        C.     If any ofthe property described in this forfeiture allegation, as a result of any act or

omission ofthe defendant:

               (1)     cannot be located upon the exercise of due diligence;

               (2)     has been transferred or sold to, or deposited with, a third party;

               (3)     has been placed beyond the jurisdiction of the court;

               (4)     has been substantially diminished in value; or

               (5)     has been commingled with other property which cannot be divided without
                       difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to Title 21, United

States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

       All pursuant to Title 18, United States Code, Section 982(a)(1).




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                                        A TRUE BILL:


                                        Foreperson


LOUIS V. F  KLIN, SR.
UNITED STATES ATTORNEY



Jon an S. Ross
As istant United States Attorney


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Me~gaff A. Kirkpatnck
Assistant United States Attorney



R. Randolph Neeley
Assistant United States Attorney




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